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                 EXHIBIT 16
UNREDACTED VERSION
   OF DOCUMENT
SOUGHT TO BE SEALED
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                     HIGHLY CONFIDENTIAL – ATTORNEYS EYES ONLY


 1   MICHAEL A. JACOBS (CA SBN 111664)
     MJacobs@mofo.com
 2   ARTURO J. GONZÁLEZ (CA SBN 121490)
     AGonzalez@mofo.com
 3   ERIC A. TATE (CA SBN 178719)
     ETate@mofo.com
 4   RUDY Y. KIM (CA SBN 199426)
     RKim@mofo.com
 5   MORRISON & FOERSTER LLP
     425 Market Street
 6   San Francisco, California 94105-2482
     Telephone:    415.268.7000
 7   Facsimile:    415.268.7522

 8   KAREN L. DUNN (Pro Hac Vice)
     kdunn@bsfllp.com
 9   HAMISH P.M. HUME (Pro Hac Vice)
     hhume@bsfllp.com
10   BOIES SCHILLER FLEXNER LLP
     1401 New York Avenue, N.W.
11   Washington DC 20005
     Telephone:   202.237.2727
12   Facsimile:   202.237.6131

13   Attorneys for Defendants
     UBER TECHNOLOGIES, INC.
14   and OTTOMOTTO LLC

15                                 UNITED STATES DISTRICT COURT
16                              NORTHERN DISTRICT OF CALIFORNIA
17                                       SAN FRANCISCO DIVISION
18   WAYMO LLC,                                             Case No.      3:17-cv-00939-WHA
19                          Plaintiff,                      DEFENDANTS UBER
                                                            TECHNOLOGIES, INC. AND
20          v.                                              OTTOMOTTO LLC’S OBJECTIONS
                                                            AND RESPONSES TO WAYMO’S
21   UBER TECHNOLOGIES, INC.,                               THIRD SET OF REQUESTS FOR
     OTTOMOTTO LLC; OTTO TRUCKING LLC,                      PRODUCTION OF DOCUMENTS
22                                                          (NOS. 153-265)
                            Defendants.
23                                                          Trial Date: October 2, 2017
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     DEFENDANTS’ OBJECTIONS AND RESPONSES TO THIRD SET OF REQUESTS FOR PRODUCTION (NOS. 153-265)
     Case No. 3:17-cv-00939-WHA
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 1   REQUEST FOR PRODUCTION NO. 199:

 2           DOCUMENTS sufficient to show

 3

 4   RESPONSE TO REQUEST FOR PRODUCTION NO. 199:

 5          Defendants have made available for inspection Uber’s facilities, email, computers,

 6   documents, design files, and source code in San Francisco and Pittsburgh on eight occasions. In

 7   doing so, Uber has made available for inspection over 383,000 emails and documents; the devices

 8   of Scott Boehmke, John Bares, Anthony Levandowski, Gaetan Pennecot, Daniel Gruver, and

 9   James Haslim; and all four locations at which there is ongoing LiDAR development. To date,

10   Waymo has conducted approximately 55 hours of inspection, with additional requests for

11   investigation.

12          Defendants will produce non-privileged documents, if such documents exist and can be

13   located through a reasonably diligent search, sufficient to show

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16          To the extent this Request seeks anything other than the previously described information,

17   Defendants object to this Request as unreasonably overbroad, irrelevant, outside the scope of this

18   litigation, harassing, and not proportional to the needs of the case, including to the extent that it

19   requests information about LiDAR designs developed by third-parties and/or implicates non-

20   disclosure agreements with third parties. Defendants further object to this Request to the extent

21   that it seeks information protected by the attorney-client privilege or the work product doctrine or

22   that is otherwise privileged or protected from discovery. Defendants further object to this

23   Request on the ground that the phrase “considered or implemented” is vague and ambiguous.

24

25   REQUEST FOR PRODUCTION NO. 200:

26           DOCUMENTS sufficient to show all self-driving car test scenarios that informed, drove,

27   or influenced any LiDAR design considered or implemented by DEFENDANTS.

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     DEFENDANTS’ OBJECTIONS AND RESPONSES TO THIRD SET OF REQUESTS FOR PRODUCTION (NOS. 153-265)
     Case No. 3:17-cv-00939-WHA
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                     HIGHLY CONFIDENTIAL – ATTORNEYS EYES ONLY


 1   RESPONSE TO REQUEST FOR PRODUCTION NO. 200:

 2          Defendants have already produced documents responsive to this Request, including

 3   without limitation, documents produced in connection with Notices of Deposition for Asheem

 4   Linaval. Specifically, Defendants produced PowerPoint presentations, notes, and calculations

 5   from the custodial files of Scott Boehmke.

 6          In addition, Defendants have made available for inspection Uber’s facilities, email,

 7   computers, documents, design files, and source code in San Francisco and Pittsburgh on eight

 8   occasions. In doing so, Uber has made available for inspection over 383,000 emails and

 9   documents; the devices of Scott Boehmke, John Bares, Anthony Levandowski, Gaetan Pennecot,

10   Daniel Gruver, and James Haslim; and all four locations at which there is ongoing LiDAR

11   development. To date, Waymo has conducted approximately 55 hours of inspection, with

12   additional requests for investigation.

13          Defendants will produce additional non-privileged documents, if such documents exist

14   and can be located through a reasonably diligent search, sufficient to show additional self-driving

15   test scenarios used for Defendants’ LiDAR designs.

16          To the extent this Request seeks anything other than the previously described information,

17   Defendants also object to this Request as unreasonably overbroad, irrelevant, outside the scope of

18   this litigation, harassing, and not proportional to the needs of the case, including to the extent that

19   it requests information about LiDAR designs developed by third-parties and/or implicates non-

20   disclosure agreements with third parties. Defendants also object to this Request as overbroad,

21   unduly burdensome, and not proportional to the needs of the case to the extent that it seeks “all”

22   “self-driving car test scenarios[.]” Defendants further object to this Request to the extent that it

23   seeks information protected by the attorney-client privilege or the work product doctrine or that is

24   otherwise privileged or protected from discovery. Defendants further object to the use of the

25   phrases “self-driving car test scenarios,” “informed, drove, or influenced,” and “considered or

26   implemented” are vague and ambiguous.

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     DEFENDANTS’ OBJECTIONS AND RESPONSES TO THIRD SET OF REQUESTS FOR PRODUCTION (NOS. 153-265)
     Case No. 3:17-cv-00939-WHA
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     pa-1791825
